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 2   Nevada State Bar No. 11479
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 5   Erin_Gettel@fd.org
 6                         UNITED STATES DISTRICT COURT
 7                                DISTRICT OF NEVADA
 8
 9   United States of America,                    Case No. 2:05-cr-00044-GMN-RJJ
10                Plaintiff,                      Second Stipulation to Continue
11                                                Revocation Hearing
           v.
12   Christopher Valdez,
13                Defendant.
14
15         Christopher Valdez’s revocation hearing is currently set for November 18,

16   2020. The U.S. Probation Office’s forensic analysis of Mr. Valdez’s cell phone is

17   not yet complete, and defense counsel requires the results of that analysis to
18   advise Mr. Valdez how to proceed. The parties therefore request that this
19   hearing be continued for at least 45 days. Mr. Valdez is in custody and does not
20   object to the continuance.
21         DATED: November 7, 2020.
22
     Rene L. Valladares                        Nicholas A. Trutanich
23   Federal Public Defender                   United States Attorney
24     /s/ Erin Gettel                           /s/ Brett Ruff
25   By_____________________________           By_____________________________
     Erin Gettel                               Brett Ruff
26
     Assistant Federal Public Defender         Assistant United States Attorney
       Case 2:05-cr-00044-GMN-RJJ Document 176 Filed 11/09/20 Page 2 of 2




 1                         UNITED STATES DISTRICT COURT

 2                               DISTRICT OF NEVADA
 3
 4
     United States of America,                     Case No. 2:05-cr-00044-GMN-RJJ
 5
                  Plaintiff,                       Order Granting Second
 6
                                                   Stipulation to Continue
 7         v.                                      Revocation Hearing
 8   Christopher Valdez,
 9                Defendant.
10
11
12         Based on the stipulation of counsel, the Court finds that good cause exists
13   to continue the revocation hearing for at least 45 days.
14         IT IS THEREFORE ORDERED that the revocation hearing currently
15   scheduled for November 18, 2020, at 12:00 p.m. is vacated and continued to
16   Wednesday, January 6, 2021, at 11:00 a.m. in Courtroom 7D.
17         DATED: November ____,
                            9 2020.
18
19
                                            Gloria M. Navarro
20                                          United States District Judge
21
22
23
24
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26
                                               2
